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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS, INDIANA

  CHRISTIAN AYALA, an individual,           )
                                            )
               Plaintiff,                   )
                                            )
        v.                                  )
                                            )   CASE NO.: 1:16-cv-1266-TWP-DLP
  BUTLER UNIVERSITY, an Indiana             )
  non-profit corporation,                   )
  JAMES M. DANKO, an individual,            )
  LEVESTER JOHNSON, an individual,          )
  STACIE COLSON PATTERSON, an               )
  individual, ANNE FLAHERTY, an             )
  individual, SALLY CLICK, an individual,   )
  ERIN MCCLUNEY, an individual,             )
  ROBERT PADGETT, an individual,            )
  MARTHA DWIZLIK, an individual, and        )
  "JANE SMITH", an individual,              )
                                            )
               Defendants.                  )



  ______________________________________________________________________________



  UNITRIN PREFERRED INSURANCE )
  COMPANY,                           )
                                     )
             Intervening Plaintiff,  )
                                     )
                                     )
  v.                                 )
                                     )
  "JANE SMITH," an individual,       )
  CHRISTIAN AYALA, an individual,    )
  and PRIVILEGE UNDERWRITERS, )
  INC.                               )
                                     )
             Intervening Defendants. )



     INTERVENING PLAINTIFF UNITRIN PREFERRED INSURANCE COMPANY'S
                       WITNESS AND EXHIBIT LIST


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         NOW      COMES      Intervening    Plaintiff,   UNITRIN     PREFERRED        INSURANCE

  COMPANY, by counsel, Hinshaw & Culbertson LLP and for its Witness and Exhibit List, states

  as follows:

         A. Unitrin’s Witness List

         1.      Plaintiff, CHRISTIAN AYALA is expected to testify about the underlying
  incident, matters related to his claimed damages, and the pleadings.

          2.     Defendant, JANE SMITH, is expected to testify about the underlying incident and
  facts and the denial of coverage by PRIVILEGE UNDERWITERS, INC. (“PURE”).

         3.      Representative(s) of BUTLER UNIVERSITY, including but not limited to all
  individuals named as Defendants in this action. The BUTLER UNIVERSITY Representatives
  may testify regarding about the underlying incident and matters alleged in the pleadings.

         4.      Representative(s) of UNITRIN PREFERRED INSURANCE COMPANY are
  expected to testify regarding the pleadings, any documents attached to or referenced in the
  pleadings, and the policy of insurance at issue.

         5.      Audi Mincey, Claim Analyst, Privilege Underwriters Reciprocal Exchange, is
  expected to testify regarding the PURE policies, any and all deliberations and decisions by
  PURE with respect to the policies of insurance issued by PURE which are at issue in this case,
  and the denial of coverage by PURE with respect to JANE SMITH.

           6.     Sandra Manzella, Senior Claim Analyst, Privilege Underwriters Reciprocal
  Exchange, is expected to testify regarding the PURE policies, any and all deliberations and
  decisions by PURE with respect to the policies of insurance issued by PURE which are at issue
  in this case, and the denial of coverage by PURE with respect to JANE SMITH.

          7.      Other Representatives of PRIVLEGE UNDERWRITERS, INC. are expected to
  testify regarding the PURE policies, any and all deliberations and decisions by PURE with
  respect to the policies of insurance issued by PURE which are at issue in this case, and the denial
  of coverage by PURE with respect to JANE SMITH.

         8.      Intervening Plaintiff reserves its right to name additional witnesses as discovery
  and investigation continues, and per any of the Court's orders.

         B. Unitrin’s Exhibit List

         1.      Unitrin Preferred Insurance Company policy number RQ 817291.

        2.    Privilege Underwriters Reciprocal Exchange homeowners policy of insurance
  number HO138236300.



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       3.     Privilege Underwriters Reciprocal Exchange umbrella policy of insurance number
  EX138235200.

         4.    All pleadings filed in this case, including, but not limited to, Plaintiff Christian
  Ayala’s Amended Complaint.

         5.     Intervening Defendant Privilege Underwriters, Inc.’s answers to interrogatories.

         6.     Intervening Defendant Privilege Underwriters, Inc’s responses to requests for
  production.

          7.   The application for insurance for Privilege Underwriters Reciprocal Exchange
  policies HO138236300 and EX138235200.

        8.     October 25, 2016 correspondence from Privilege Underwriters Reciprocal
  Exchange regarding its denial of coverage.

         9.     Deposition transcript of Plaintiff, Christian Ayala.

          10.    Intervening Plaintiff reserves its right to supplement this list as discovery and
  investigation continues and in accordance with any of the Court's orders.



  Date: June 11, 2018                                 Respectfully submitted,

                                                      HINSHAW & CULBERTSON LLP



                                              By: /s/ Joseph D. Ackerman

                                                      Scott B. Cockrum (20840-45)
                                                      Joseph D. Ackerman (30276-71)
                                                      scockrum@hinshawlaw.com
                                                      jackerman@hinshawlaw.com
                                                      Attorneys for Intervening Plaintiff
                                                      322 Indianapolis Blvd.
                                                      Suite 201
                                                      Schererville, IN 46375
                                                      219-864-5051




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                                  CERTIFICATE OF SERVICE

         I certify that on the 11th day of June, 2018, a copy of the foregoing Witness and Exhibit
  List was filed via the Court’s electronic filing system and served on all counsel of record through
  same.

                                                    HINSHAW & CULBERTSON LLP

                                              By: s/ Joseph D. Ackerman
                                                  Joseph D. Ackerman


  Andrew M. Kassier      kassiera@aol.com

  Christopher A. Wadley     cwadley@wwmlawyers.com

  Craig W. Wiley     craig.wiley@jacksonlewis.com

  John K. Bennett    bennettj@jacksonlewis.com

  Melissa K. Taft    melissa.taft@jacksonlewis.com




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